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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI


TAMIA BANKS, et al.,

               Plaintiffs,
                                                           Case No. 4:20-cv-01227
        v.

COTTER CORPORATION (N.S.L.), et al.,

               Defendants.


COTTER CORPORATION (N.S.L.),

               Third-Party Plaintiff,

        v.

MALLINCKRODT LLC, et al.,

               Third-Party Defendants.


          COMMONWEALTH EDISON COMPANY’S MOTION TO JOIN
       COTTER CORPORATION (N.S.L.)’S MOTION FOR AN EXTENSION OF
             STAY OF REMAND PENDING APPELLATE REVIEW

       Commonwealth Edison Company (“ComEd”) joins the arguments in Cotter Corporation

(N.S.L.)’s Motion for an Extension of Stay of Remand Pending Appellate Review (ECF No. 73)

without waiver of its jurisdictional or other defenses.

       For these reasons, ComEd requests that the Court grant Cotter Corporation (N.S.L.)’s

Motion for an Extension of Stay of Remand Pending Appellate Review and requests any further

relief that the Court deems just and proper.




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     Dated: January 21, 2021       Respectfully submitted,

                                   /s/ Brian O. Watson_____________
                                   RILEY SAFER HOLMES & CANCILA LLP
                                   Brian O. Watson, #68678MO
                                   Lauren E. Jaffe, #6316795IL
                                   Jennifer Steeve, #308082CA
                                   70 W. Madison St., Suite 2900
                                   Chicago, Illinois 60602
                                   (312) 471-8700 (main)
                                   (312) 471-8701 (fax)
                                   bwatson@rshc-law.com
                                   ljaffe@rshc-law.com
                                   jsteeve@rshc-law.com
                                   docketdept@rshc-law.com

                                   SWANSON, MARTIN & BELL, LLP
                                   Marcie J. Vantine, #56860MO
                                   mvantine@smbtrials.com
                                   One Bank of America Plaza
                                   800 Market Street, Suite 2100
                                   St. Louis, MO 63101
                                   314.242.0903 (telephone)
                                   314.242.0990 (facsimile)

                                   ATTORNEYS FOR DEFENDANT
                                   COMMONWEALTH EDISON
                                   COMPANY




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                                CERTIFICATE OF SERVICE

       I certify that on January 21, 2021, these papers were filed through the Eastern District of

Missouri Court’s CM/ECF system, which will automatically serve an electronic copy upon all

counsel of record.

                                                    Respectfully submitted,

                                                    By: /s/ Brian O. Watson       ______
                                                       RILEY SAFER HOLMES & CANCILA LLP
                                                       Brian O. Watson, #68678MO
                                                       Jennifer Steeve, #308082CA
                                                       Lauren E. Jaffe, #6316795IL
                                                       70 W. Madison St., Suite 2900
                                                       Chicago, Illinois 60602
                                                       (312) 471-8700
                                                       (312) 471-8701 - Fax
                                                       bwatson@rshc-law.com
                                                       jsteeve@rshc-law.com
                                                       ljaffe@rshc-law.com
                                                       docketdept@rshc-law.com




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